      Case 20-03521-hb            Doc 22     Filed 04/24/23 Entered 04/24/23 14:02:30                     Desc Final
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                                              United States Bankruptcy Court
                                                 District of South Carolina


Case Number: 20−03521−hb                                       Chapter: 7

In re:
 Christian Supply Shoppe, Inc.
 dba Christian Supply
                                                                                                    Filed By The Court
  Entered By The Court                  FINAL DECREE, DISCHARGING TRUSTEE                                 4/24/23
         4/24/23                                AND CLOSING CASE                                     L. Jefferson Davis, IV
                                                                                                         Clerk of Court
                                                                                                     US Bankruptcy Court


The estate of the above−named debtor(s) has been fully administered. Therefore,

John K Fort is discharged as trustee of the estate and the Chapter 7 case of the above named−debtor(s) is closed.


IT IS SO ORDERED.




                                                               Helen E. Burris
                                                               Chief United States Bankruptcy Judge
